Case 3:14-cr-05449-BHS Document120_ Filed 02/29/16 Page 1 of 16

Judge Benjamin H. Settle

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

AT TACOMA
UNITED STATES OF AMERICA, ) No. CR14-5449BHS
)
Plaintiff, )
)
VS. ) DEFENDANT’S SENTENCING
) MEMORANDUM
VICTOR NARANJO, )
)
Defendant. )
)

Comes now the defendant, Victor Naranjo, through his attorney, Assistant Federal
Public Defender Kyana Givens, and presents the following sentencing memorandum.
Mr. Naranjo will appear before the Court for sentencing on March 7, 2016, at 11:00 a.m.

On March 24, 2015, Mr. Naranjo plead guilty to a Misdemeanor charge for
Improper Storage of Explosives, in violation of Title 18 U.S.C. §§ 842q), 844(b) and 2.

At the time of filing this memo, the government has not filed their memo nor
recommendation. Probation is recommending 30 days of prison and supervise release
conditions proposed in its draft judgment. The defense is recommending no jail time, 45
hours of community service and 1 year of supervised release. The defense has no
objection to the supervised release conditions outlined by probation.

1 THE OFFENSE CONDUCT

In September of 2011, a girlfriend of Mr. Narajo’s military brother, turned in a
M72A5 Liaght Anti-Tank Weapon (“LAW”) and said she acquired it from Mr. Naranjo.
This weapon was smuggled into the United States as a war trophy in a battlefield

exchange between Canadian and American Units serving in Afghanistan in 2010. Mr.

DEFENDANT’S SENTENCING FEDERAL PUBLIC DEFENDER
1601 Fifth Avenue, Suite 700

MEMORANDUM - 1 Seattle, Washington 98101

(Victor. Naranjo; CR14-5449BHS) eartle, Wastngton

(206) 353-1100

Oo © YN DB A BP WD VY

NO NO KN DD RO DRO RO a a a
NN mA BP WO PO —& DOD DO DO HT HD An FP WY YP FY CO

Case 3:14-cr-05449-BHS Document120_ Filed 02/29/16 Page 2 of 16

Naranjo did not assist in getting the weapon into the United States. However, once the
weapon was on US soil, Mr. Naranjo became aware that it was not only smuggled into
the United States, but also smuggled off the base of Joint Base Lewis Mchord located
here in Washington state. Some of Mr. Naranjo’s friends contacted him about how to
dispose of the weapon. Mr. Naranjo was not only a friend, but he was also a Sergeant to
a few of the people involved. More importantly, given the bonds formed in combat, he
felt a brotherhood toward his friends and wanted to help. He agreed to have the LAW
brought to his home where he was living near Tacoma, Washington. In January 2011,
Mr. Naranjo hosted a party at his home and the LAW was brought out and Mr. Naranjo
was photographed with his friends and the weapon. After the party, Mr. Naranjo kept the
weapon with the intention of trying to dispose of it. After a month of research and
brainstorming to safely dispose of the weapon, Mr. Naranjo returned the weapon to co-
defendant Kyle Nespory. His girlfriend at the time, then spoke with a friend and
ultimately disclosed that the weapon was present in the United States. The authorities got
involved and three people were charged on September 24, 2014, with Possession of
Stolen Explosive Materials (Count 1), in violation of Title 18 U.S.C. §§ 842(h), 844(a)(1)
and 2; Possession of Unregistered Firearm (Destructive Device) (Count 2), in violation of|
Title 26 U.S.C. §§ 5841, 5845(a)(8) and (f)(1)(C), 5861(d) and 5871 and § 2; Possession
of Stolen Explosive Material (Count 3), in violation of Title 18 U.S.C. §§ 842(h),
844(a)(1) and § 2; Possession of Unregistered Firearm (Destructive Device) (Count 4), inl
violation of Title 26 U.S.C. §§ 5841, 5845(a)(8) and (f)(1)(C), 5861(d) and 5871 and
Title 18 § 2; Possession of Stolen Explosive Material (Count 5), in violation of Tile 18
U.S.C. §§ 842(h), 844(a)(1) and § 2; Possession of Unregistered Firearm (Destructive
Devise) (Count 6), in violation of title 26 U.S.C. §§ 5841, 5845(a)(8) and (f\(1)(C),
5861(d) and § 2.

DEFENDANT’S SENTENCING FEDERAL PUBLIC DEFENDER
MEMORANDUM -2 1601 Fifth Avenue, Suite 700
(Victor. Naranjo; CR14-5449BHS) Seattle, Washington 98101

(206) 553-1100

\o Co ~~] ON mr eB W& N —

NO NN KR DN KN DR RO mR RE HS
N nA BP W NO FY DBD OBO DB ANI DBD UH FSP WH VY *§ O&O

Case 3:14-cr-05449-BHS Document120_ Filed 02/29/16 Page 3 of 16

Over the next six months, Mr. Naranjo’s version of events was investigated and
eventually he gave a full statement to the government and agreed to testify at a trial if
necessary. As part of the Plea Agreement, Mr. Naranjo received a reduced charge to the

misdemeanor count described at the beginning of this memo.

Il. THE DEFENSE RECOMMENDATION JUSTIFICATION

Mr. Naranjo does not have any guideline disputes in this matter. The parties agree
that Mr. Naranjo is a Criminal History Category I and his total Offense Level after
Acceptance of Responsibility is 4. The corresponding guideline to these numbers is a
sentencing guideline of 0-6 months in prison.

All parties have accurately summarized the facts of this case in Sentencing Memos
and the Presentence Report. The defense does not see the need to repeat these facts yet
again, where the parties are in large part in agreement about the underlying facts and have
arrived at a resolution through the Plea Agreement that is more than reasonable. The
only dispute appears to be whether at this stage in his life, a prison sentence serves an
effective purpose under 18 USC § 3553 (a).

Mr. Naranjo has written an honest and candid acceptance letter to this Court that
more than demonstrates his remorse for his actions. Exhibit A. He also reflects insight
about his struggle with alcoholism and treatment focused conditions of supervised release
are the most effective response to his PTSD and alcoholism.

Mr. Naranjo is an Army veteran who actually served four tours of service to this
country between 2001 and 2011. He enrolled in the Army just a week after his 18"
birthday, recognizing he needed a plan for his future after high school. Ultimately, he
was deployed to combat in 2002 to Afghanistan, 2003 to Iraq, 2005 back to Iraq and
finally in 2009 to Afghanistan again. These deployments were not easy and stretched
him to his maximum physical and mental capacity. He has survived multiple active

conflicts with “the enemy” and he is tortured by the trauma and survivors guilty of

FEDERAL PUBLIC DEFENDER
1601 Fifth Avenue, Suite 700
Seattle, Washington 98101

(206) 553-1100

DEFENDANT’S SENTENCING
MEMORANDUM - 3
(Victor. Naranjo; CR14-5449BHS)

Case 3:14-cr-05449-BHS Document120_ Filed 02/29/16 Page 4 of 16

gathering the remains of his combat brothers who died as victims of Improvised
Explosive Devise (IED) blasts. Understandably, even before these charges were initiated,
Mr. Naranjo was depressed, suffering from PSTD (ashamed to ask for and get help) and
used alcohol to numb his fatigue and mental anguish. At times, his despair has been so
severe that it has caused him to feel suicidal. The correct response to his suicidality,
PTSD and alcoholism is counseling and support groups.

Mr. Naranjo has been on pretrial bond since October 16, 2014. Over the course of
his release period he has lived in California and he has been on courtesy supervision from
a pretrial office there. While Mr. Naranjo’s bond was not perfect, it was not so
detrimental that this Court should now put him in prison. Pretrial bond has worked for
Mr. Naranjo. He has had to confront his alcoholism and his offense behavior. He has
had to try to re-invent his life outside of the military, something he never wanted to do.
To his credit, he has risen to the occasion. Mr. Naranjo has never been revoked from his
bond in the past 16 months. He has consistently met with counsel, not only to address his
charges, but also to address the social and emotional barriers that were undermining his
success. He has come to realize his triggers that lead to a downward spiral of depression.
He set goals to attend school and try to increase his future earning power. Lastly he felt
ready and capable to get into a romantic relationship. Mr. Naranjo is well on his way to
maintaining and achieving those goals. He has been with his girlfriend for a year now.
She got pregnant and then miscarried, and while it was a challenge and required going
through the stages of grief, Mr. Naranjo navigated this tragedy while keeping the
relationship stable and he successfully fought the urge to return to alcoholism to drown

his sorrows. This was a huge step of personal growth for him and really demonstrates a

strength and his ability to access resources and support in a time of trouble.

One of the successes Mr. Naranjo has also achieved is completing his AA degree

and getting accepted to a four-year college. He is currently in good standing at a four

FEDERAL PUBLIC DEFENDER
1601 Fifth Avenue, Suite 700
Seattle, Washington 98101

(206) 553-1100

DEFENDANT’S SENTENCING
MEMORANDUM - 4
(Victor. Naranjo; CR14-5449BHS)

oo Oo ST DH On HE W YY

NO NO NO KN KN KR HNO eRe ER ER
DN wn B&B W NO Fe CO TO DH ANA DH FP WO NY KY O&O

Case 3:14-cr-05449-BHS Document120_ Filed 02/29/16 Page 5 of 16

year University and he maintains a 3.3 grade point average. Exhibit B. Mr. Naranjo is
on target to graduate in the Spring of 2017 with a Business Administration Degree with a
concentration in Accounting.

Mr. Naranjo has demonstrated an ability to put his words into action over time.

He has maintained some of the cornerstones of a prosocial lifestyle that so many
defendants like him are unable to achieve. Despite serious PTSD, alcoholism, and
discharge from the Military, Mr. Naranjo maintains a home, a strong relationship and
successfully completing college. He has a good relationship with his family and in turn
he wants to be available to support his father as his father battles cancer.

The purposes of sentencing, including community safety are best served by
keeping Mr. Naranjo in the community to capitalize on the positive trajectory he has
worked so hard to maintain. Mr. Naranjo has learned so much from this process and he
remains devoted to service (even if not in the military). His is a story that this Court can
be confident will end in triumph. He should be supervised for a year in the community
and ordered to community service of at least 45 hours. The community service
component is effective retribution for this serious crime. It exposes him and hopefully he
will tell his story and encourage others to address mental illness, alcoholism, and promote
community accountability. The defense asks this Court to follow the defense

recommendations.

DATED this 29th day of February, 2016.

Respectfully submitted,

s/ Kyana Givens

Assistant Federal Public Defender
Attorney for Victor Naranjo

FEDERAL PUBLIC DEFENDER
1601 Fifth Avenue, Suite 700
Seattle, Washington 98101

(206) 553-1100

DEFENDANT’S SENTENCING
MEMORANDUM - 5
(Victor. Naranjo; CR14-5449BHS)

Oo CoO SJ DB OO Fe W] NHN

dO bo NO h> bo bo bo ee — ee _ pe ee ne ee — bo
an in - bo NO - oS \O of ~ an N & Qo bo — oS

Case 3:14-cr-05449-BHS Document120_ Filed 02/29/16 Page 6 of 16

CERTIFICATE OF SERVICE

I hereby certify that on February 29, 2016, I filed the foregoing document with the
Clerk of the Court using the CM/ECF system which will send notification of filing to all
parties registered with the CM/ECF system.

s/ Charlotte Ponikvar
Paralegal
Office of the Federal Public Defender

DEFENDANT’S SENTENCING FEDERAL PUBLIC DEFENDER
MEMORANDUM -6 1601 Fifth Avenue, Suite 700
(Victor. Naranjo; CR14-5449BHS) Seattle, Washington 98101

(206) 553-1100

Case 3:14-cr-05449-BHS Document120_ Filed 02/29/16 Page 7 of 16

EXHIBIT A
Case 3:14-cr-05449-BHS Document120_ Filed 02/29/16 Page 8 of 16

Victor Naranjo
1453 Atterbury Dr.

Walnut, CA 91789
victorn@ecpp.edu

Honorable Benjamin H. Settle, ,

My name is Victor Naranjo. I was born in San Diego on June 20, 1982. As a boy, I moved
around all over Southern California as my dad looked for jobs to sustain our family. After
graduating high school, at the age of 18, I decided to join the Army because I had no real plan
after high school and felt that joining the Army and serving this great country of ours was a good
option for my life. I joined the Army June 28, 2000, exactly 8 days after my 18" birthday, as an
Infantryman. After attending Airborne School and graduating, I was stationed at Fort Campbell,
KY from 2001-2006 where I had the honor to deploy to combat three times- 2002 Afghanistan,
2003 Iraq, and 2005 Iraq- in order to protect and serve our country. In 2006 I was sent to Fort
Lewis, WA to serve in the new Stryker Brigade Combat Team where I deployed one more time-
2009 to Afghanistan. During those 4 deployments I have been in firefights with enemy
combatants, I have survived one hand grenade thrown from the enemy and two improvised
explosive devices placed on our routes by the enemy as well as having personally placed 3 of our
brothers in arms in body bags following their gruesome deaths after an IED blast. Unfortunately,
during my last deployment something happened that had major impacts on my life. I am not sure
if it was combat fatigue or difficulty reintegrating into society but I made a lot of mistakes, in my
personal life and professional life, which I fully and honestly regret.

One of the major mistakes I have committed in my life is the one I am pleading guilty for and
accepting responsibility in this case. I took possession of an explosive device. Until this day and
when I think back to that night in which I took possession of the device, I get pissed off at myself
because I should have known better. I not only put myself at risk having that device but also put
others at risk having that device in my residence. As a Sergeant, I should have known better and
should have taken a different course of action. I not only had a lapse in my sense of judgement
but also destroyed my military career in the process. Words cannot express how sorry I am for
not only letting myself down, but also my fellow brothers in arms, the people I put at risk and

our country overall. I am a patriot, and will always be a patriot to this country, and my actions
did not reflect the pride I have of being an American, military service member, and now veteran.

When I got discharged from the military I had two options. Bounce back from this mistake I had
committed or continue to destroy my life and carry on with habits that would ultimately lead to
an unhappy ending. I suffered from depression and lack of sleep and was dealing with it by
drinking heavy amounts of alcohol. But I decided that if I didn’t bounce back from this mistake,
the lives that my brothers gave up for this country, would have all been in vain. I had to change
not only for myself but also for them. So I enrolled in college and decided that if I couldn’t serve
Case 3:14-cr-05449-BHS Document120_ Filed 02/29/16 Page 9 of 16

my country anymore then I would make them proud a different way- by earning a degree, being
successful, and ultimately helping my fellow veterans and being a productive member of society.
The road has not been an easy one, there have been bumps, but with every bump I learn and I try
to be even better. There are a lot of stressors in my life, and with the conclusion of this case one
of those big stressors in my life will be removed. My girlfriend of over a year has been a solid
stone for me to lean on in hard times. Even though she was pregnant and had a miscarriage, she
is still one of the strongest people I know and seeing her strength has helped me in ways I cannot
describe. My father has been diagnosed with stomach cancer and has prostate problems in his
advanced age, and having this case resolved will allow me to visit him and support him
whenever he needs it. After attending two years at a community college, I attained an AA in
Liberal Studies in Business Management and had a GPA of 3.50. I have now transferred to a 4
year university where I am currently enrolled. I should graduate spring of next year with a
Bachelor’s degree in Business Administration with a concentration in Accounting and have a
current GPA of 3.30. If after graduation I can find a way to put my new skills at work for the
government, I hope I can. If not, I will look for a job in a corporate setting in order to gain
knowledge and experience.

I want to once again express how sorry I am for my prior actions. I fully regret my actions and
have taken steps to not only be a productive member of society but also to change my life for the
better,

Sincerely,
Victor Naranjo
Case 3:14-cr-05449-BHS Document120_ Filed 02/29/16 Page 10 of 16

EXHIBIT B
Case 3:14-cr-05449-BHS Document 120

Filed 02/29/16

Page 11 of 16

Academic Transcript

AXXXXXXXX Victor Naranjo

Feb 18, 2015 08:03 pm

[@ This is not an official transcript. Courses which are in progress may also be included on this transcript.

For Grade Explanations, Click here

Transfer Credit

Institution Credit

Transcript Totals _ Courses in Progress

Transcript Data
STUDENT INFORMATION

Birth Date:
Student Type:
Curriculum Information

Current Program
Transfer Only No MtSAC Degree
Program:
College:
Campus:
Major:

ME 1952

Continuing Student

_ Transfer - Business
Mt. San Antonio College
Mt. San Antonio College
Business, Transfer

***Transcript type: WEB Web is NOT Official ***

DEGREE AWARDED

Certificate Certificate 6 to < 18
Less Than units
18 Hours:

Curriculum Information

Primary Degree
Program:
College:
Campus:

Major:

MT SAC DEG:

Denied: Certificate 6 to < 18

units
Curriculum Information

Primary Degree
Program:
College:
Campus:

Major:

MT SAC DEG:

Certificate Certificate 6 to < 18
Less Than units
18 Hours:

Curriculum Information

Primary Degree

Degree Date:

Bus: International I Cert
Mt. San Antonio College
Mt. San Antonio College
Business: International

Attempt Passed Earned GPA Quality GPA

Hours Hours Hours Hours Points
77.500 77.500 77.500 77.500 276.00 3.56
Degree Date:
Accounting-Bookkeeping Cert
Mt. San Antonio College
Mt. San Antonio College
Accounting - Bookkeeping
Attempt Passed Earned GPA Quality GPA
Hours Hours Hours Hours Points
77.500 77.500 77.500 77.500 276.00 3.56

Degree Date:

Case 3:14-cr-05449-BHS Document 120

Filed 02/29/16

Page 12 of 16

Program:
College:
Campus:
Major:

MT SAC DEG:

Certificate Certificate 6 to < 18
Less Than units
18 Hours:

Curriculum Information

Primary Degree
Program:
College:
Campus:

Major:

MT SAC DEG:

TRANSFER CREDIT ACCEPTED BY INSTITUTION

military:

Military Transfer Units

Accounting-Bookkeeping Cert
Mt. San Antonio College

Mt. San Antonio College
Accounting - Bookkeeping

Attempt Passed Earned GPA Quality GPA
Hours Hours Hours Hours Points

77.500 77.500 77.500 77.500 276.00

Degree Date:

Bus: Management I Cert
Mt. San Antonio College
Mt. San Antonio College
Business: Management Level I

Attempt Passed Earned GPA Quality GPA
Hours Hours Hours Hours Points

77.500 77.500 77.500 77.500 276.00

-Top-

Subject Course Title Grade Credit Quality Points
Hours
PE TRAN Transfer Course P 4.000
Attempt Passed Earned GPA Quality GPA
Hours Hours Hours Hours Points
Current Term: 4.000 4.000 4.000 0.000 0.00

Unofficial Transcript
INSTITUTION CREDIT

Term: Spring 2013

College: Mt. San Antonio College
Major: Business Management
Student Type: First-Time College Student
Academic Standing: Good Standing
Subject Course Campus Level Title Grade Credit Quality Start R CEUContact
Hours Points and Hours
End
Dates
BUSM 10 Mt. San CR Principles of CQI B 3.000 9.00
Antonio
College
BUSM 20 Mt. San CR Principles of A 3.000 12.00
Antonio Business
College
ENGL 1A Mt. San CR Freshman B 4.000 12.00
Antonio Composition
College
MATH 51 Mt. San CR Elementary Algebra C 4.000 8.00
Antonio
College
Attempt Passed Earned GPA Quality GPA
Hours Hours Hours Hours Points
Current Term: 14.000 14.000 14.000 14.000 41.00 2.92

-Top-

3.56

3.56

0.00

Case 3:14-cr-05449-BHS Document120_ Filed 02/29/16 Page 13 of 16

Cumulative: 14.000 14.000 14.000 14.000 41.00 2.92

Unofficial Transcript

Term: Summer 2013
College: Mt. San Antonio College
Major: Business Management
Student Type: Continuing Student
Academic Standing: Good Standing
Subject Course Campus Level Title Grade Credit Quality Start R CEUContact
Hours Points and Hours
End
Dates
MATH 71 Mt. San CR Intermediate A 5.000 20.00
Antonio Algebra
College
Attempt Passed Earned GPA Quality GPA
Hours Hours Hours Hours Points
Current Term: 5.000 5.000 5.000 5.000 20.00 4.00
Cumulative: 19.000 19.000 19.000 19.000 61.00 3.21

Unofficial Transcript

Term: Fall 2013

College: Mt. San Antonio College

Major: Business Management

Student Type: Continuing Student

Academic Standing: Good Standing

Additional Standing: President's List

Subject Course Campus Level Title Grade Credit Quality Start R CEUContact

Hours Points and Hours
End
Dates

BUSM 60 Mt. San CR Human A 3.000 12.00
Antonio Relations/Business
College

BUSS 36 Mt. San CR Principles of A 3.000 12.00
Antonio Marketing
College

CISB 15 Mt. San CR Microcomputer A 3.500 14.00
Antonio Application
College

MATH 130 Mt. San CR College Algebra B 4.000 12.00
Antonio
College

NF 25 Mt. San CR Essentials of B 3.000 9.00
Antonio Nutrition
College

Attempt Passed Earned GPA Quality GPA
Hours Hours Hours Hours Points

Current Term: 16.500 16.500 16.500 16.500 59.00 3.57
Cumulative: 35.500 35.500 35.500 35.500 120.00 3.38

Unofficial Transcript

Term: Winter 2014

College: Mt. San Antonio College

Major: Business, Transfer

Student Type: Continuing Student

Academic Standing: Good Standing

Subject Course Campus Level Title Grade Credit Quality Start R CEUContact

Hours Points and Hours
End

Case 3:14-cr-05449-BHS Document 120

Filed 02/29/16

HIST 1 Mt. San
Antonio

College

Mt. San
Antonio
College

MATH 140

Current Term:
Cumulative:

Unofficial Transcript
Term: Spring 2014
College:

Major:

Student Type:
Academic Standing:
Additional Standing:
Subject

AHIS 1 Mt. San
Antonio

College
Mt. San
Antonio
College
Mt. San
Antonio
College
Mt. San
Antonio
College
Mt. San
Antonio
College

BUSM 51
GEOL 10
MATH

110

POLI 1

Current Term:
Cumulative:

Unofficial Transcript

Term: Summer
College:

Major:

Student Type:
Academic Standing:
Subject

BUSA 68 Mt. San
Antonio

College

Mt. San
Antonio
College

BUSA 7

Current Term:

CR

CR

Course Campus Level Title

CR

CR

CR

CR

CR

Course Campus Level Title

CR

CR

Dates
History of U.S. A 3.000 12.00
Calculus for WwW 4.000 0.00
Business

Attempt Passed Earned GPA Quality GPA

Hours Hours Hours Hours Points
7.000 3.000 3.000 3.000 12.00 4.00
42.500 38.500 38.500 38.500 132.00 3.42

Mt. San Antonio College
Business, Transfer
Continuing Student
Good Standing
President's List

Grade Credit Quality Start R CEUContact

Hours Points and Hours
End
Dates
Undrstnd Visual A 3.000 12.00
Arts
Principles of Int'l A 3.000 12.00
Business
Natural Disasters B 3.000 9.00
Elementary Statistic B 3.000 9.00
Political Science A 3.000 12.00
Attempt Passed Earned GPA Quality GPA

Hours Hours Hours Hours Points
15.000 15.000 15.000 15.000 54.00 3.60
57.500 53.500 53.500 53.500 186.00 3.47

Mt. San Antonio College
Business, Transfer
Continuing Student
Good Standing

Grade Credit Quality Start R CEUContact
Hours Points and Hours
End
Dates
Business A 3.000 12.00
Mathematics
Princ of Acct- A 5.000 20.00
Financial

Attempt Passed Earned GPA Quality GPA
Hours Hours Hours Hours Points

8.000 8.000 8.000 8.000 32.00 4.00

Page 14 of 16

Case 3:14-cr-05449-BHS Document 120

Filed 02/29/16 Page 15 of 16

Cumulative:

Unofficial Transcript

Term: Fall 2014

65.500 61.500 61.500 61.500 218.00

College: Mt. San Antonio College

Major: Business, Transfer

Student Type: Continuing Student

Academic Standing: Good Standing

Additional Standing: Dean's List

Subject Course Campus Level Title Grade Credit Quality Start

Hours Points and
End
Dates

ANTH 1 Mt. San CR Biological B 3.000 9.00
Antonio Anthropology
College

BUSA 75 Mt. San CR Microcomp/Financial A 1.000 4.00
Antonio Acct
College

BUSA 8 Mt. San CR Princ of Acct- B 5.000 15.00
Antonio Managerial
College

BUSC 1A Mt. San CR Prin of Econ-Macro B 3.000 9.00
Antonio
College

BUSM 61 Mt. San CR Business B 3.000 9.00
Antonio Organization/Mgt
College

HIST 19 Mt. San CR History of Mexico A 3.000 12.00
Antonio
College

Current Term:
Cumulative:

Unofficial Transcript
Term: Winter 2015
College:

Major:

Student Type:
Academic Standing:

Last Academic Standing:

Attempt Passed Earned GPA Quality
Hours Hours Hours Hours Points

18.000 18.000 18.000 18.000 58.00
83.500 79.500 79.500 79.500 276.00

Mt. San Antonio College
Business, Transfer
Continuing Student
Good Standing

Good Standing

Subject Course Campus Level Title Grade Credit Quality Start

ANTH iL Mt. San CR
Antonio
College

SPCH 1A Mt. San CR
Antonio
College

Current Term:
Cumulative:

Unofficial Transcript

TRANSCRIPT TOTALS (CREDIT)

Hours Points and
End
Dates
Biological Anthro A 1.000 4.00
Lab
Public Speaking A 4.000 16.00

Attempt Passed Earned GPA Quality
Hours Hours Hours Hours Points

5.000 5.000 5.000 5.000 20.00
88.500 84.500 84.500 84.500 296.00

-Top-

3.54

R CEUContact
Hours

GPA

3.22
3.47

R CEUContact
Hours

GPA

4.00
3.50

Case 3:14-cr-05449-BHS Document120 Filed 02/29/16

Page 16 of 16

Attempt Passed Earned GPA Quality GPA
Hours Hours Hours Hours Points

Total Institution: 88.500 84.500 84.500 84.500 296.00 3.50
Total Transfer: 4.000 4.000 4.000 0.000 0.00 0.00
Overall: 92.500 88.500 88.500 84.500 296.00 3.50

Unofficial Transcript
COURSES IN PROGRESS -Top-

Term: Spring 2015
College: Mt. San Antonio College
Major: Business, Transfer
Student Type: Continuing Student
Subject Course Campus Level Title Credit Hours Start
and End
Dates
BUSC 1B Mt. San CR Prin of Econ. -Microecon. 3.000
Antonio
College
BUSL 18 Mt. San CR Business Law 3.000
: Antonio
College
BUSM 62 Mt. San CR Human Resource 3.000
Antonio Management
College
ENGL 1c Mt. San CR Critical Thinking and Writing 4.000
Antonio
College
MATH 140 Mt. San CR Calculus for Business 4.000
Antonio
College

Unofficial Transcript

